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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                CASE NO. 1:98-cr-00068-MP

ANTHONY DAVIS,

      Defendants.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 154, Motion to Continue Revocation Hearing,

filed by Anthony Davis. The motion is unopposed and seeks to continue the revocation hearing

to allow state proceedings to be resolved. Accordingly, the motion to continue is granted and

revocation is hereby reset for Wednesday, December 20, 2006 at 10:30 a.m.


       DONE AND ORDERED this 8th day of November, 2006


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
